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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                       *
STATE OF MARYLAND, et al.,
                                                *
                       Plaintiffs,
                                                *
               v.
                                                        No. 1:25-cv-00758
                                                *

UNITED STATES DEPARTMENT OF                     *
AGRICULTURE, et al.,
                       Defendants.

        *      *      *       *      *      *       *       *     *     *      *      *

                  PLAINTIFFS’ MOTION TO SEAL EXHIBITS TO
             PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       Plaintiff States hereby move under Local Rule 105.11 to seal Exhibits B, H-L, P and Q

(“Exhibits”) in support of their Motion for A Preliminary Injunction. These Exhibits are (1)

supplemental declarations from probationary federal employees that Defendants terminated; (2)

probationary employees’ SF-50 forms that document their terminations from federal employment;

and (3) other documents containing personally identifying information about current or former

federal employees. Consistent with this Court’s direction during the March 7, 2025 TRO hearing,

Plaintiff States have filed redacted versions of these exhibits on the public docket. They now ask

this Court to seal the unredacted versions. This Court should grant the motion for the same reasons

that persuaded this Court to seal similar exhibits Plaintiff States submitted in support of their TRO

motion. They contain sensitive personal information that the public has no interest in seeing.

                                         LEGAL STANDARD

       “The right of public access derives from two independent sources: the First Amendment

and the common law.” In re U.S. for an Ord. Pursuant to 18 U.S.C. Section 2703(D), 707 F.3d

283, 290 (4th Cir. 2013). The common law presumes a right of public access to all judicial records
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and documents that can be rebutted by competing interests, such as whether the records are sought

for improper purposes, whether release would enhance the public’s understanding of an important

historical event, and whether the public already has access to the information in the records. Id.

(citing In re Knight Publ’g Co., 743 F.2d 231, 235 (4th Cir. 1984)). The First Amendment right of

access only applies to certain judicial records such as complaints, summary judgment motions and

exhibits, rulings on summary judgment motions, and docket sheets. Courthouse News Service v.

Smith, 126 F.4th 899, 907 (4th Cir. 2025). The First Amendment permits sealing these records

when it is narrowly tailored to serve a compelling governmental interest. Butler v. DirectSAT USA,

LLC, 47 F. Supp. 3d 300, 316 (D. Md. 2014).

                                           ARGUMENT

       The Exhibits are declarations or SF-50’s1 from probationary federal employees whose

employment has been terminated since January 20, 2025 and other documents containing

personally identifying information about current or former federal employees. They should be

sealed because they contain sensitive personal information that the common law does not entitle

the public to see, and the First Amendment right of access does not apply.

       The declarations contain sensitive personal information. They include the declarant’s

annual salary and grade and step levels. They describe the declarant’s formal performance

evaluations and informal feedback on their job performance for employees who were not employed

long enough to receive a performance evaluation, including direct quotes from emails notifying

them of the termination of their employment. They also describe declarants’ responses to sudden



1
        A federal employee’s SF-50, Notification of Personnel Action documents personnel
actions that affect the federal employee’s position and pay. They include an employee’s personally
identifying information in addition to the personnel action such as SSN, date of birth, position title,
grade, step, and salary.


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unemployment, including whether they have applied for unemployment, Medicaid, or other public

benefits for themselves or their families, and how their daily lives and spending are affected. The

SF-50s also contain personally identifying information such as the employee’s home address,

grade and step level, and salary. They also contain SSNs and dates of birth, information which

cannot appear on the public docket. See Fed. R. Civ. P. 5.2(a)(1),(2).

        The unredacted declarations should be sealed because the declarants have strong reasons

to keep their sensitive personal information out of public view. See Butler, 47 F. Supp. 3d at 316.

Although the recent mass layoffs of federal employees are a matter of public concern, specific and

individualized information about the employees who have been terminated will not advance the

public’s understanding of this public issue. See In re Knight Publ'g Co., 743 F.2d at 235 (favoring

sealing if information will not advance public understanding). The public does not already have

personal information about declarants’ salaries, performance reviews, or their plans to apply for

public benefits. Id. (also favoring sealing if the information is not already public). The redacted

versions of these exhibits that already appear on the public docket provide sufficient information

to the public. And the declarants have reasonable and specific concerns about reprisal if their

declarations are available to the public. Many fear that identifying their names and the specific

offices where they worked could expose them to reprisal. The common law standard plainly

justifies sealing.

        The First Amendment only applies to certain types of judicial records, such as complaints,

summary judgment motions and exhibits, rulings on summary judgment, and docket sheets.

Courthouse News Service, 126 F.4th at 907. Unredacted employee declarations are not necessary

to allow the public to understand the basis of the Court’s ruling on the merits.

        For these reasons, the Plaintiff States respectfully move to seal Exhibits B, H-L, P and Q.




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March 20, 2025                           Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that, on this 20th day of March, 2025, the foregoing was served on all persons

entitled to service through the Electronic Case Management filing system.


                                                   /s/ Virginia A. Williamson
                                                   Virginia A. Williamson




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